          Case 1:18-md-02865-LAK Document 547 Filed 02/25/21 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 In re

 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK
 (SKATTEFORVALTNINGEN) TAX REFUND                             18-MD-2865 (LAK)
 SCHEME LITIGATION
                                                              ECF Case
 This document relates to: 1:18-cv-10028 (LAK);
 1:18-cv-10030 (LAK); 1:18-cv-10031 (LAK);
 1:18-cv-10032 (LAK); 1:18-cv-10035 (LAK);
 1:18-cv-10036 (LAK); 1:18-cv-10039 (LAK);
 1:18-cv-10049 (LAK); 1:18-cv-10060 (LAK);
 1:18-cv-10061 (LAK;) 1:18-cv-10062 (LAK);
 1:18-cv-10063 (LAK) ; 1:18-cv-10064 (LAK);
 1:18-cv-10065 (LAK); 1:18-cv-10066 (LAK);
 1:18-cv-10069 (LAK); 1:18-cv-10070 (LAK);
 1:18-cv-10071 (LAK); 1:18-cv-10073 (LAK);
 1:18-cv-10074 (LAK); 1:18-cv-10076 (LAK);
 1:18-cv-10077 (LAK); 1:18-cv-10080 (LAK);
 1:18-cv-10082 (LAK); 1:18-cv-10083 (LAK);
 1:18-cv-10086 (LAK); 1:18-cv-10096 (LAK).


                                      PROOF OF SERVICE

         I hereby certify that on the 8th day of January, 2021, the Notice of Motion to Withdraw as

Counsel, the Memorandum of Law in Support of Motion to Withdraw as Counsel, and the

Declaration of Mark D. Allison, Esquire, filed through the ECF system, were electronically sent

to the registered participants as identified on the Notice of Electronic Filing.

         Further, on the 8th day of January, 2021, copies of the documents were also sent via

electronic mail and Federal Express, Standard Overnight on Defendants Matthew Tucci,

FiftyEightSixty LLC Solo 401K Plan, OneZeroFive LLC Solo 401K Plan, The Beech Tree

Partners 401K Plan, The Blackbird 401K Plan, The Cardinal Consulting Pension Plan, The

Chambers Property Management LLC 401K Plan, The Crow Associates Pension Plan, The Egret
        Case 1:18-md-02865-LAK Document 547 Filed 02/25/21 Page 2 of 3




Associates LLC 401K Plan, The Everything Clean LLC 401K Plan, The Hawk Group Pension

Plan, The Heron Advisors Pension Plan, The Hibiscus Partners LLC 401K Plan, The Hoboken

Advisors LLC 401K Plan, The Jayfran Blue Pension Plan, The JT Health Consulting LLC 401K

Plan, The Jump Group LLC 401K Plan, The Lakeview Advisors 401K Plan, The Maple

Advisors LLC 401K Plan, The Oaks Group Pension Plan, The Osprey Associates LLC 401K

Plan, The Robin Daniel Pension Plan, The Sandpiper Pension Plan, The Sea Bright Advisors

LLC 401K Plan, The Tag Realty Advisors LLC 401K Plan, The Throckmorton Advisors 401K

Plan, The Wave Maven LLC 401K Plan, and The Zen Training LLC 401K Plan at:

                          Matthew Tucci and Associated Pension Plans

                                   Palm Beach Gardens, FL 33410
                                        tuccim1@gmail.com

       The Palm Beach Gardens, Florida address is the last known address for Defendant Tucci.

Federal Express made numerous attempts to deliver the package containing the above-mentioned

documents, but the delivery was ultimately unsuccessful. A copy of the Federal Express delivery

log is attached hereto as Exhibit A.

       After the initial Federal Express package was unable to be delivered, two alternative

addresses were found. A copy of Defendant Tucci’s former New Jersey driver’s license

contained the following address:


                                   West Long Branch, NJ 07764

       As such, on the 10th day of February, 2021, copies of the above-mentioned documents

were sent by Federal Express, Standard Overnight to the West Long Branch, New Jersey

address. Federal Express made numerous attempts to deliver the package, but the delivery was

ultimately unsuccessful. A copy of the Federal Express delivery log is attached hereto as Exhibit
        Case 1:18-md-02865-LAK Document 547 Filed 02/25/21 Page 3 of 3




B.

       A post office box address was found for Defendant Tucci. On the 10th day of February,

2021, copies of the above-mentioned documents were sent by certified mail, return receipt

requested to:


                                W Long Branch, NJ 07764

       To date, no return receipt has been returned. A copy of the certified mail receipt is

attached hereto as Exhibit C.

       Although Defendant Tucci has not received the documents by mail or Federal Express, he

confirmed that he received copies of the Notice of Motion to Withdraw as Counsel, the

Memorandum of Law in Support of Motion to Withdraw as Counsel, and the Declaration of

Mark D. Allison, Esquire, when sent to him by electronic mail.

February 25, 2021

                                                     CAPLIN & DRYSDALE, CHARTERED


                                                     s/ Mark D. Allison___________________
                                                     By: Mark D. Allison

                                                     Mark D. Allison
                                                     600 Lexington Avenue, 21st Floor
                                                     New York, New York 10022
                                                     (212) 379-6000
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